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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 1 of 80

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UNITED STATES DISTRICT COURT FOR THE —s was RHE HET SNL |
WESTERN DISTRICT OF WASHINGTON AT SEATTLE

Civil son? LA OE i 4 - 0 6 9 4 myP

Officers Robert Mahoney (#6296), Sjon
Stevens (#6180), Cliff Borjeson (#7597),
Christopher Myers (#5452), and 122 other
Officers of the Seattle Police Department
named below,

Plaintiffs,

vs. CIVIL RIGHTS COMPLAINT

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)
) UNDER 42 U.S.C. §1983 and
) 28 U.S.C § 1331
Eric H. Holder, Jr., individually, )
Attorney General of the United States, and )
‘employees of the Department of Justice, )
individually, named below, )
)
)
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)

The City of Seattle, including the Seattle
Police Department, the Seattle Police
Monitor Team, and the Seattle
City Attorney’s Office,

Ed Murray, individually and in his official
capacity, Mayor, City of Seattle, and
former Mayors, individually, named below,

Chief of Police, Seattle Police Department, —
individually and in his/her official capacity,
and former Chiefs, individually, named below,

Peter Holmes, individually and in his official
capacity, Seattle's City Attorney,

Merrick Bobb, individually and in his
official capacity, Seattle Police Monitor, and
members of the Monitoring Team, individually
and in their official capacities, named below,

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Defendants. )
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I. SUMMARY OF CLAIMS
Defendants have promulgated and imposed new use of force (UF) policies and

practices in reckless and deliberate indifference to the protections afforded Plaintiffs by the

SPD Officers’ § 1983 Complaint 1

 
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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 2 of 80

Constitution: (1) The UF policies and practices unreasonably restrict and burden Plaintiffs'
right to use force reasonably required, to protect themselves and others, from apparent harm
and danger, in violation of the Second, Fourth, Fifth, and Fourteenth Amendments of the
Constitution. (2) The new UF policies and practices require - without appropriate
consideration of an officer's knowledge, training, experience, or the apparent danger of the
circumstances confronting him or her - that Plaintiffs use significantly less force than is being
threatened against them by suspects. This includes, for example, prohibiting Plaintiffs from
using reasonable and effective force tools or techniques against vaguely defined, newly
protected classes of suspects unless deadly force is the only other option. This significantly
increases the likelihood that such persons will get killed or seriously injured in encounters
with the police - a terrible result and a violation of those suspects' rights - as well as a clear
violation of constitutional protections afforded Plaintiffs to reasonably protect themselves
and others from threats of harm. (3) In the balancing of interests required by the Fourth
Amendment, Plaintiffs’ right not to be required to take unnecessary risks with their personal
safety in the performance of their duties are consistently violated, by the UF policies and
practices, in favor of suspects’ alleged rights in situations where suspects appear to be or are
engaged in threatening and dangerous conduct. (4) The UF policies and practices work to
undermine and destroy the longstanding totality-of-the-circumstances standard for making,
analyzing, and reviewing officers’ reasonable UF decisions by undermining, at each step, the.
integrity of officers’ judgments as a whole. (5) The Court requires UF standards to be
simple, practical and useful to the officer doing his or her job. The new UF Policy clearly is
not. In some places it is overly complicated and contradictory, in other places overly precise

and mechanical, but throughout, requires Plaintiff to engage in mental gymnastics wholly

SPD Officers' § 1983 Complaint

 
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 3 of 80

unreasonable in light of the dangerous and fast evolving circumstances we face every day.
This creates unnecessary and, therefore, unconstitutional risks to Plaintiffs’ safety. (6) The
UF policies and practices require Plaintiffs to under-react to threats of harm until we have no
choice but to overreact. This makes it inevitable - although unnecessary and unreasonable -
that officers and citizens will get killed or seriously injured. Moreover, the policies and
practices are designed to trap Plaintiffs into violations even where Plaintiffs did, or could
have, acted in a completely reasonable and justifiable manner under the law. This places

unconstitutional risks and burdens on Plaintiffs' lives and livelihood and necessarily subjects

them to the very second-guessing prohibited by the Constitution. (7) The UF policies and
procedures attempt to fundamentally alter longstanding principles and standards governing
acceptable and lawful police conduct, thus significantly altering the terms and conditions of
Plaintiffs’ employment, including potentially interfering with Plaintiffs’ rights to qualified
immunity for their reasonable uses of force, without Plaintiffs having had any meaningful

opportunity to participate and be heard in the process.

ll, JURISDICTION and PARTIES
1. Plaintiffs, sworn officers of the Seattle Police Department (SPD), bring this action under
42 USC § 1983 against the City of Seattle, including the SPD, and certain City of Seattle
(City) employees, including Mayors, Chiefs of Police, and the Seattle Police Monitor
(Monitor) and his staff (Monitoring Team), alleging that Defendants have deprived
Plaintiffs of the rights and protection secured for them by the Second, Fourth, Fifth and

Fourteenth Amendments of the Constitution under color of policies and practices of the

SPD Officers' § 1983 Complaint

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 4 of 80

City related to Plaintiffs' use of force in their interactions with threatening or resisting
suspects. .

Plaintiffs also have a cause of action, under 28 USC §1331, against the United States
Attorney General (AG) and certain officials of the U.S. Department of Justice (DOJ).
DOJ officials are a party to the consent decree under which the UF policy has been
implemented in order to remedy an alleged pattern and practice of excessive UF.
Moreover, it is clear from this case as well as other DOJ investigations around the
Country that DOJ's explicit goal is to re-write longstanding policing standards around use
of force in a manner that conflicts with the Constitution. Though the Monitor is paid by
the City, it has been made clear to the City that the Monitor will not find the City in
compliance until the City and SPD establish and implement new UF policies and
practices that include the unconstitutional standards dictated by DOJ.

A complete list of Plaintiffs, including badge numbers and contact information is
attached to this Complaint. A complete list of Defendants, with contact information, is

also attached.

lil. INTRODUCTION
It is unfortunate that we have to file this complaint. Plaintiffs emphatically agree with
Defendants that ‘constitutional policing is effective policing’. Moreover, notwithstanding
the reams of paper, and huge bills for the City being generated by DOJ and the Monitor,
there is one, simple goal and point of agreement that addresses the entirety of DOJ's
investigation of SPD: "The goal of the Parties in entering the Settlement Agreement is to

ensure that SPD's use of force is consistent with the requirements of the United States

SPD Officers’ § 1983 Complaint
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 5 of 80

Constitution." SPD and the City agreed to this - and only this - even as they adamantly
disagreed with DOJ's findings of excessive force. Accordingly, SPD and the City agreed
to develop a UF Policy consistent with the constitutional standards and principles set
forth in Graham v. Connor.

What SPD and the City have drafted instead, however, with heavy-handed oversight by
DOJ and the Monitor, is a policy that wholly disregards the Court's clear prioritization of
the practical safety issues facing police officers over burdensome policy requirements, in
light of the Court's understanding of the dynamics of threatening and violent encounters
with suspects. The new policy substantially undermines the constitutional protections
and rights afforded Plaintiffs - asking us to take unreasonable risks with our safety and
our lives. As a consequence, it leaves the public significantly less safe as well.

Research shows, overwhelmingly, that police officers under-react and hesitate in the face
of threats of violence, and are often killed or seriously injured as a result. Moreover, the
Court expressly is cognizant of this country's long history of armed violence, particularly
by suspects against police officers. Thus, overwhelmingly, standard police doctrine,
policy and best practices, based on decades of related case law, require officers first and
foremost to assess the threat presented by the suspect, and to react reasonably in response
to the threat, without delay or hesitation. By contrast, the new UF Policy requires patrol
officers to focus, not on the nature of the threat, but instead to recall pages and pages of
confusing and often contradictory factors, qualifiers, analyses, and special considerations
for certain classes of suspects, which greatly impairs the decision-making process for
officers. This is especially problematic considering that these decisions are often made

under extremely difficult, emotionally-charged and dangerous circumstances where time-

SPD Officers' § 1983 Complaint
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 6 of 80

consuming and nuanced analysis is virtually impossible. The UF policy further induces
hesitation because officers are fearful of censure and sanction should their actions, in
hindsight, be judged to have violated any of a number of layers of rules and provisions
that invite conflicting interpretation. What is more, the policy requires that many UF
decisions be made, and judged, after-the-fact, based on the ‘actual threat’, rather than the
‘reasonably perceived threat', which has long been the constitutional standard for both
police officers and citizens. The real-world effect of this UF Policy is to induce a
reluctance by patrol officers to use appropriate and sufficient levels of force to control
dangerous suspects. It effectively creates hesitation and paralysis by analysis that puts
officers, suspects and the general public at greater risk of injury or death, as a situation
that might have been quelled early on is allowed to spiral to increasingly higher levels of
violence because the officer uses too little force too late. The new policy is the type of
policy the Court has consistently rejected. The Court has time and again overturned
allegedly "helpful," but overly prescriptive and mechanical rules and policies under the
Fourth Amendment, in favor of simple and practical policies that defer to officers’ actual
knowledge and experience on the street. It is a policy that places compassion for
suspects’ difficulties and conditions (perhaps not misplaced in other contexts) squarely at
odds with Plaintiffs' and the publics’ safety. As courts consistently hold: a threat of
danger is a threat of danger, regardless of the suspect's mental or other impairments that
may be contributing factors to a suspect's dangerous criminal behavior.

Not surprisingly, there is already evidence of significant problems wrought by the new
UF Policy. Aside from evidence that officers are hesitating and/or failing to use

appropriate and lawfully justified force to address threats safely and effectively, there is

SPD Officers’ § 1983 Complaint
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 7 of 80

evidence of a dramatic decrease in proactive police work to investigate and stop crime.
Officers are turning in their TASERS in large numbers - even though such devises
provide reasonable and effective tools when facing threatening conduct - because
Plaintiffs are confused about how and when we can use them and see too great a
possibility for unreasonable discipline under the UF Policy. Patrols officers will testify
to an insidious new hesitation to respond to calls for backup. We are increasingly unsure
how much help we can offer since our responses are so burdened and constrained by the
UF Policy, and whether or not providing backup is worth the risk of unreasonable
disciplinary action or termination. This hesitation has only increased as, Plaintiffs will
testify, we are now being brought in to headquarters like criminal suspects and subjected
to intimidating, non-consensual recorded interviews for conduct that was widely
accepted as effective and lawful policing just a few months ago. Meanwhile, first
responding officers, required by the UF Policy to delay and avoid immediately resorting
to force, are left unnecessarily and unreasonably vulnerable when backup fails to come,
and the delay and avoidance tactics fail to bring the threat under control. Plaintiffs will
present evidence of a significant increase, that began even before the policy became
final, in injuries to patrol officers because we are hesitating to respond to threats with
adequate and reasonable force.

Citizens are feeling vulnerable as patrol officers avoid acting in reasonable response to
threats to public safety. Publicized cases include incidents where officers have done
nothing, or retreated from suspects who threatened the officer with death or serious
physical injury, leaving the officer, other officers on the scene, and the public

unnecessarily exposed to serious danger or death. Not surprisingly, in published articles,

SPD Officers' § 1983 Complaint
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 8 of 80

bystanders have expressed anger and concern at what they see as sworn officers’ failure
to protect innocent people. The bold, new disregard for police authority in the streets of
Seattle - as evidenced, for example, by a recent letter by more than 40 individuals and
officials who wrote to the Mayor asking for immediate enforcement resources to deal
with increasingly violent incidents downtown - is the natural and logical consequence of
a policy that so decisively places the interests of criminal suspects ahead of the rights and
interests of officers, citizens, and the City.

There are other serious risks to Plaintiffs' safety created by the new UF Policy. It is so
long, complex and contradictory that Washington State Criminal Justice Training
Commission (CITC) personnel have stated that they have no idea how to conduct
training for it, and therefore will not. Plaintiffs will testify to being significantly less sure
of how to police under the new UF Policy even than when we first became police
officers. Moreover, as the new policy is implemented, it is becoming increasing clear
that our fears are in fact the new reality: We are being judged under an impossible
standard that puts our lives at unnecessary and therefore unreasonable risk. Plaintiffs
have taken the opportunity to observe meetings of the Use of Force Review Board
(UFRB) which, under the new policy, is required to review every Type II and III UF
incident. This includes, for example, any time a patrol officer takes down a suspect in
order to arrest him or her, and the suspect "complains" that there was an injury (as the
overwhelming majority of criminal suspects reflexively and glibly do when placed under
arrest). In specific cases where patrol officers have had practical, safety reasons for their
conduct due to the danger of the situation and threat created by the suspect, the Monitor,

who was in attendance, emphatically stated: "Practical considerations never trump this

SPD Officers’ § 1983 Complaint
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 9 of 80

policy." This is completely wrong, and a 180 degree contortion of the Court's holdings
which consistently prioritize officer safety over mechanical applications of policy,
particularly when the suspect has engaged in unlawful threatening behavior.

What has become increasingly clear is that the new standard for police conduct under the
UF Policy is perfection, as determined in 20/20 hindsight by inexperienced, untrained
civilians and non-patrol officers from the safety of a desk or committee room. This
standard of perfection was expressed previously by Defendant McGinn in his "Vision for
the Future," when he promised that Seattle police officers using force "will get it right
every time.” Perfection, however, is totally at odds with the Constitution. Perfection can
never be a realistic, fair, or appropriate standard when patrol officers are required to
regularly confront, and protect the public from, people who commit crime, abuse drugs
and alcohol, fail to take prescribed medications, behave violently, have access to
dangerous weapons, are often mentally ill, and do not care whether or not their actions
conform with the law or the rules of society. Requiring the impossible of patrol officers
will result in less effective policing and in unreasonable and unnecessary risks to our
lives and livelihood.

These are not problems that can be tweaked, adjusted to, or trained around, with “self-
analysis,” over some arbitrary transitional period, as suggested by the Monitor. As the
allegations of this Complaint make clear, serious misinterpretations and misapplications
of long-standing legal principles - and the unconstitutional risks created thereby - are at
the core of the new policy and impact every aspect of it.

These pervasive and systemic problems have been created, ironically, in response to

DOJ's highly suspect evidence of alleged excessive force, and even though DOJ’s

SPD Officers’ § 1983 Complaint

 
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 10.of 80

findings themselves make clear that excessive use of force is an issue - if at all - only for
a tiny minority of SPD officers. DOJ demanded and imposed the new UF Policy,
acknowledging that almost all the cases where it alleged excessive use of force
"involve[d] people with mental illness, or people under the influence of drugs and
alcohol." It then ignored the consistent and cumulative evidence regarding the
magnitude of the crisis involving untreated mentally ill individuals in urban areas across
the United States, and the intersection between untreated mental illness and drug abuse,
dangerous and unpredictable behavior, and violence involving guns and other deadly
instruments. DOJ demanded policy changes without meaningful consideration of
recognized use of force science, which consistently discredits the core "pause and
deliberate" strategies imposed by DOJ. It also ignored research regarding both the
physiology of decision-making under tense, uncertain, and rapidly unfolding
circumstances, and the disadvantage facing officers who, by definition, operate behind
the reactionary curve when they are called to respond to the threatening conduct and
behavior of suspects. Most significantly - considering DOJ's role as the Nation's enforcer
of the Constitution - DOJ made its findings and imposed its remedy without regard for
the longstanding standards regarding use of force under that very Constitution.

As sworn police officers, we have undertaken a dangerous occupation, and each day we
knowingly accept its accompanying risks. We participate in continuing and extensive
training regarding suspects’ rights and have never sought a blank check on using force.
Nor are we insensitive to the problems facing the mentally ill. In fact, we are uniquely
called upon to cope with their plight first-hand, every day. What this Complaint alleges

is that we cannot be required to take unnecessary and, therefore, unreasonable risks with

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 11 of 80

our lives and our safety. That, while we consistently are called to the scene of the
dangerous epicenter of a societal crisis not of our making, we cannot be required to
respond as "mental health professionals" - which we are not - and at the same time be
unreasonably burdened from using our lawful authority and force - the unique and
crucial skills we bring to the crisis - in order to protect ourselves and the public.

The danger DOJ created when it demanded a new UF policy - disregarding any input
from or the experience of patrol officers, especially in Seattle, and without regard for the
longstanding rule of law or the appropriate role of the police - is the most serious threat
to officer and public safety faced by the City in years, and, if not immediately rectified,
will negatively impact the City for decades to come.

IV. FACTUAL BACKGROUND

On December 17, 2013, Judge Robart, United States District Court Judge for the Western
District of Washington at Seattle, issued an order approving an alleged "Consensus Use of Force
Policy" (UF Policy) to govern SPD. The court approved the policy as appropriate “for the
present circumstances." Judge Robart indicated that his role was to insure that the UF Policy
was constitutional. However, his cursory, one-and-one-half page order, contains no substantive
analysis of the UF Policy or its constitutionality, and, in fact, statements in the opinion contradict
well-established case law on how police officers are supposed to make determinations regarding
the lawfulness and reasonableness of their actions. The UF Policy went into effect on January 1,
2014,

The "circumstances" referred to by Judge Robart include an investigation opened in March, 2011
by Defendant Thomas E. Perez, former Assistant Attorney General (AAG) of the Civil Rights

Division of DOJ regarding whether or not SPD officers deprived individuals of their

SPD Officers' § 1983 Complaint il
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 12 of 80

constitutional rights by patterns and practices of discriminatory policing or excessive use of
force. After its investigation, DOJ was unable to make any findings of discriminatory
policing. However, DOJ issued findings (Findings Letter), including that when SPD patrol
officers use force "they do so in an unconstitutional manner nearly 20% of the time."
Subsequently in July 2012, a Settlement Agreement and Memorandum of Understanding
(Consent Agreement) was entered into between the United States, SPD and the City. In the
Consent Agreement, SPD and the City specifically "dispute[d] the alleged patterns or
practices of excessive force alleged in DOJ's report." Nevertheless, they agreed to develop a
new UF policy consistent with the constitutional requirements of Graham v. Connor. The
Consent Agreement also provided that the parties would select a federal monitor to oversee
implementation of the Consent Agreement. Defendant Merrick Bobb (Monitor) is the monitor
selected by the parties. The Monitor publicizes his work on a website called the "Website of the
Seattle Police Monitor," and his salary is paid by the City. The City to date has paid the Monitor
and his staff (Monitoring Team) over $700,000.00. On November 27, 2013 the Monitor
submitted the UF Policy approved by Judge Robart, with an accompanying Memorandum to the
Court (UF Memorandum), alleging that the policy met the requirements of the Consent Decree.
Plaintiffs are primarily SPD patrol officers, and are the individuals most significantly and
immediately affected by the new UF Policy. We are also the individuals with the most
knowledge, training and experience regarding the UF situations facing patrol officers in Seattle.
Moreover, many SPD patrol officers are established and recognized experts in use of force
techniques, practices and standards. Nevertheless, no SPD officers concurrently engaged in

street policing duties were involved in the development of the UF Policy. DOJ and the monitor

SPD Officers' § 1983 Complaint 12

 
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 13 of 80

choose instead, inexplicably, to consult the "rank-and-file in Los Angeles” to determine if the
new policies "compromise[d] the safety of Seattle police officers and the public they serve.”

In the very last days of the process, select Plaintiffs were invited to submit comments through
the Seattle Police Officers' Guild (SPOG) and a departmental website called, Idea Scale.
However, it soon became clear that they were solicited without any intention of affecting
decisions already made by the Monitor and DOJ. Nevertheless, Plaintiffs provided a thorough
review of the draft and identified how and where the draft policy conflicted with use of force
best practices, the realities facing patrol officers on the streets of Seattle, and the protections
afforded officers under the Second, Fourth and Fourteenth Amendments. These concerns were
ignored. Plaintiffs again attempted to communicate their concerns to those involved in the
process, before the draft became a final policy. Plaintiffs were told, in effect: "This is what DOJ
and the Monitor are telling SPD to do regardless of whether or not it makes good sense or is
good law. A federal judge has approved it. There's nothing SPD can do about it. It's a 'done
deal."

The Monitor's UF Memorandum claims that the UF Policy represents a ‘consensus’ and ‘unified
voice.' This is inaccurate to the point of falsification. As almost every other statement in the UF
Memorandum acknowledges, there has been, and Plaintiffs allege continues to be, a profound
lack of consensus around the UF Policy. As is made clear above, despite Plaintiffs’ vital role in
the implementation of, and our significant impact from, the UF Policy, we were not even a party
to the supposed ‘contentious' and 'exhausting' negotiations the Monitor claims led to the final
consensus on the new UF policy. Patrol officers were never meaningfully consulted during the
process, and our Guild, though allegedly "consulted" by the Monitor, was not a party to, or at the

table for, official decisions regarding significant, fundamental rights and interests of its

SPD Officers’ § 1983 Complaint 13
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 14 of 80

members. Plaintiffs contend that any appearance of 'consensus' asserted by the Monitor is
simply due to the fact that he ran roughshod over any criticism and concerns, and that the
various involved parties simply gave up. This reality is reflected in the tone of the Monitor's
semiannual reports, which are self-serving, combative, and bullying. It is now clear that the
Monitor and DOJ all along intended to use SPD and the City as a test-case to re-write
longstanding constitutional law and principles - and to undermine reasonable police practices
based on these principles - with which they disagree.

Defendant, Eric H. Holder, Jr., is the AG of the United States, and it was on his behalf the
Consent Agreement was signed by Defendant Perez and Defendant Jenny S. Durkan, US
Attorney, Western District of Washington. Defendants Perez, Durkan and Defendant, Jonathan
Smith, Chief of Special Litigation for DOJ worked closely with the Mayor's office to develop
the Consent Agreement and the subsequent UF Policy, as did other members of the Special
Litigation Section, including Defendants Emily Gunston and Timothy Mygatt. DOJ continues to
be involved in the implementation of, and training under, the new policy. Defendant Jocelyn

Samuels is the current Acting AAG for Civil Rights.

Defendant Michael McGinn is the former Mayor of Seattle, and Defendant Peter Holmes is the

Seattle City Attorney, each of whom signed the Consent Agreement on behalf of the City.
Defendant Edward B. Murray is the newly elected Mayor of Seattle under whose administration
the UF Policy will be implemented. John Diaz was the Chief of Police at the time the Consent
Agreement was entered into and the UF Policy was being developed. Defendant James Pugel
was Interim Chief of Police while the UF Policy was being developed and at the time it was

submitted to the Court.

SPD Officers' § 1983 Complaint 14

 
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 15 of 80

V. CONSTITUTIONAL CLAIMS

A. Plaintiffs Have the Right to Self-Defense and Defense of Others Under the Second
and Fourth Amendments and These Rights are Violated by the UF Policy.

When a police officer is confronted with threatening behavior, he or she has the fundamental,
individual right of self-defense under the Second Amendment, consistent with every other
citizen, to protect himself or herself, and others, from apparent and immediate harm. As the
Court has long recognized, the rules that define and determine self-defense are of universal
application and are not affected by the character of a person's employment. Indeed, where
employees have a duty to protect others, their right to defend themselves and others is arguably
enhanced. In many ways, these rights closely overlap patrol officers’ rights to use force under the
Fourth Amendment, especially when defending themselves against suspects who pose an
immediate threat to their safety or the safety of others.

However, distinct from the Fourth Amendment standard of ‘objective reasonableness’ is a long
tradition of self-defense law that establishes a ‘reasonable belief’ standard. As such, there need
only be ‘reasonable grounds’ for a person's belief that he or she is in imminent or immediate
danger at the time of the acts in self-defense or defense of others. Like objective reasonableness,
the reasonable belief standard does not rest on the ‘actual facts' of the situation, but rather on the
‘apparent danger’ perceived by the individual acting in defense of self or others. Moreover,
under the Second Amendment, the more serious the apparent danger perceived at the moment of
self-defense or defense of others, the less detached or 'objective' the test of reasonableness has to
be.

As discussed in detail in section VI.A below, the UF Policy, particularly the deadly force

provision, violates Plaintiffs’ rights and protections secured by theses standards under the

SPD Officers' § 1983 Complaint 15
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 16 of 80

Second Amendment. We state again, we are not seeking unfettered, unregulated permission to
use force. Our complaint is against the situation created by the UF Policy whereby sworn patrol
officers are placed at unreasonable risk and disadvantage vis-a-vis suspects who threaten deadly
harm or serious bodily injury. Moreover officers are placed at a disadvantage in protecting
themselves and the public compared to ordinary citizens, notwithstanding that officers are given
both the trust and responsibility to respond to and protect the public from danger.

B. Police Officers have Constitutional Protections under the Fourth Amendment,

Distinct from the Interests of the Government, and/or the Rights of the Citizens and

These Protections are Unreasonably Burdened by the UF Policy.
The Supreme Court's Fourth Amendment jurisprudence - the core legal parameters that guide
police interactions with persons engaged, or suspected of engagement, in criminal activity -
contains clear and longstanding standards and principles regarding seizures by police officers.
In fact, force is itself a seizure, and therefore subject to the same requirements for reasonable
suspicion and probable cause as all other seizures. The Fourth Amendment balances three
distinct sets of interests when considering the reasonableness of an officer's decision to make a
seizure: (1) the private citizen's interests against unreasonable intrusion by the government; (2)
the government's interest in detecting, investigating, and preventing crime; and (3) the "more
immediate interest of the police officer" in protecting himself or herself and others from danger,
because it is unreasonable to require that police officers take unnecessary risks in the
performance of their duties. Thus, the Fourth Amendment gives patrol officers distinct
constitutional protection against being required to take unnecessary risks with their lives and
safety.
Plaintiffs want to be clearly understood. We know our job puts us in danger. We willingly

accept these risks in large part because our job also allows us the privilege to serve and protect

SPD Officers’ § 1983 Complaint 16

 
 

 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 17 of 80

the innocent. Obviously, we are not arguing that the Constitution grants us the right to dictate, to
our employers, all the terms of a UF Policy. We also are not arguing that the Constitution
requires our employer (SPD and the City) to do the impossible, e.g., control suspects' dangerous
behavior, or keep us at all times safe. We are arguing that the Constitution provides us certain
rights and protections: Our employer cannot make policy decisions and impose policy
requirements that put us at unnecessary and, therefore, unreasonable risk when confronting
threatening or resisting suspects, and which require us to take unnecessary and, therefore,
unreasonable risks with our safety and the safety of the public we serve. Longstanding Fourth
Amendment case law has worked a careful balance among these rights and interests by
examining the objective reasonableness of the officers’ conduct based on the totality of the
circumstances perceived by that officer at the time force is used, particularly the immediacy of

the threat to the safety of the officers and others. The UF Policy consistently undermines that

balance, ignoring and discounting the threat presented by suspects, unreasonably restricting and

burdening officers’ ability to take necessary actions, and requiring officers to take unreasonable
risks. In doing so, the UF Policy attempts to re-define as ‘excessive’, force that is reasonable in
light of the threat to officers’ safety at the time, and thus undermines the protections afforded
police officers under the Fourth Amendment's careful scheme.

C. Patrol Officers Are Not Required to Forfeit Their Rights In Order to Obtain,
Retain, or Perform Their Job Under the Fourth and Second Amendments.

DOJ, the City and SPD leadership are under the mistaken belief that they can unreasonably
restrict and burden, and subsequently punish Plaintiffs, for using reasonable force allowed by the
Second and Fourth Amendments, in a confrontation between the police and suspects. Plaintiffs’

constitutional protections against being required to take unreasonable risks, however, are

SPD Officers’ § 1983 Complaint 17

 
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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 18 of 80

incorporated, and apply to the States and municipalities, such as the City and SPD, under the
Fourteenth Amendment. As applies against all Defendants, the Court holds that public
employees do not lose Fourth Amendment rights when they work for the government. Nor are
they relegated to watered-down versions of constitutional protections. Moreover, the Court
specifically holds that constitutional protections against unreasonable search or seizures do not
disappear because the government employer has the right to make reasonable intrusions or
impositions.
Here Plaintiffs are granted protection under the Second and Fourth Amendments not to be
required to take unreasonable risk with their safety. It is the unreasonable risk itself that is the
constitutional injury, and it is the policy and practices demanded by DOJ and implemented by
the City and SPD that have created this risk. The Fourth Amendment authorizes Plaintiffs to
take reasonable action in response to threatening and dangerous conduct by suspects. While
suspects may cause bodily harm and even death to Plaintiffs, it is the intentional conduct of
government actors that expressly restricts and burdens police officers’ authority to take the
reasonable actions necessary to protect themselves and others from that danger. Thus it is the
conduct of government actors that have caused unreasonable risk and the constitutional violation
under § 1983.

D. DOJ's Factual Justification for the Alleged Constitutional Violations by SPD Patrol

Officers is Speculative, has been Discredited, and therefore cannot Support the

Remedy Imposed by DOJ.
The factual analysis on which DOJ bases its assertion that there existed a pattern and practice of
unconstitutional, excessive force used by SPD patrol officers has been discredited and is
incorrect. DOJ repeatedly refused to provide the City, SPD or the public with the data, methods,

or analysis it used to reach its conclusion that 20% of UF situations utilized excessive force. The

SPD Officers’ § 1983 Complaint 18
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 19 of 80

little information DOJ did provide indicates that its key finding comes from an extrapolation
from a random sample of UF reports. It is therefore nothing more than speculation. An
independent analysis by researchers under the supervision of Matthew Hickman, a Professor at
Seattle University, and a former statistician for DOJ itself, examined - in totality - every single
UF report during the time period that was considered, and extrapolated from, by DOJ. In stark
contrast to DOJ's unsupported assertion, the Hickman study found that only 3.5% of the cases
could be characterized as even "potentially" excessive.
In addition, DOJ's finding regarding the prevalence of excessive force directly conflicts with
other key findings by DOJ such as: the “great majority” of Seattle’s police officers do not use
excessive force; the pattern of excessive force exists only for a very small “subset” of officers;
that supervisory oversight should focus only on the “very small number” of officers who use
force frequently; and that the alleged 20 officers whom DOJ is concerned about represent only
4% of SPD officers that used force in 2010. DOJ goes so far as to concede that if there is
anything, there is only an "appearance," not the reality, of a wide-spread problem, thus refuting
their own conclusions.

E. DOJ, SPD, and the City have attempted to Fundamentally Alter the Terms and

Conditions of Plaintiffs’ Employment without a Meaningful Opportunity to be heard in

Violation of the Due Process Clause of the Fifth and Fourteenth Amendments.
The Due Process Clause of the Fifth Amendment prohibits a federal agency, such as DOJ, from
depriving individuals of life, liberty or property without the due process of law. Similarly, the
due process clause of the Fourteenth Amendment prohibits state actors from doing the same.
Clearly such rights are at stake here. Plaintiffs believe that the UF Policy requires them to take

unnecessary and therefore constitutionally unreasonable risks with their safety in the

SPD Officers’ § 1983 Complaint 19
 

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Case 2:14-cv-00794-MJP Document 1 Filed 05/28/14 Page 20 of 80

performance of their duties, including subjecting them to unnecessary risks of death and serious
bodily injury. There can be no argument that such deprivation requires due process.
Furthermore, even though Plaintiffs recognize that we assume a certain level of risk by accepting
employment as police officers, we do not accept that we must forfeit our constitutional
protections by doing SO, Nor, therefore, that we can be coerced into assuming unnecessary,
unreasonable risks. Moreover, Plaintiffs believe we will face unreasonable disciplinary actions,
lawsuits, loss of employment, and the inability to obtain police employment in other
jurisdictions, if and when we are accused of violating the new UF Policy, even though our
actions were reasonable under the law. Such property interests at issue have been established by
statutes, regulations, SPD procedures, and collective bargaining agreements governing the
employment relationship between police officers and the City.

Notwithstanding these significant and serious liberty and property interests, DOJ has imposed,
and the City and SPD have acquiesced, in the fundamental rewriting of nearly universal,
longstanding, constitutionally grounded rules of acceptable, i.e. reasonable, police conduct.
They did so without providing Plaintiffs any meaningful opportunity to be heard, even though it
is our safety and livelihood that is most significantly and immediately affected by the policy
changes. They did so without meaningful consultation with or involvement from SPOG. They
did so notwithstanding that many SPD patrol officers are recognized experts in the field of use of
force standards and techniques. They ignored Plaintiffs' experience and expertise, even as the
Monitor inexplicably consulted with the "rank and file" police officers in a different state, a
different type of city, in a different region of the country. This is particularly troubling when the

constitutional standard at issue - whether the police officers’ conduct was objectively reasonable

SPD Officers’ § 1983 Complaint 20
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Case 2:14-cv-00794-MJP Document 1 Filed 05/28/14 Page 21 of 80
- depends on an examination of the specific knowledge, experience, training and circumstances
facing those officers.
A key condition of Plaintiffs' employment is the availability of qualified immunity when officers
are sued based on claims that we used excessive force. This is an essential condition, as patrol
officers are required to respond to dangerous, tense, and uncertain circumstances on a daily
basis, and the public wants us to do so with confidence in order to protect them. Qualified
immunity recognizes that to reasonably ask this of police officers, they must be protected from
the fear of unfair lawsuits, particularly in the hazy border between excessive and acceptable
force. Qualified immunity also recognizes that police officers can act reasonably under the law
even when they are mistaken as to the facts and circumstances at the time, or how the law will
apply to those facts. As discussed below, the UF Policy, by contrast, legislates and requires
perfect and exact responses by police in their encounters with dangerous and threatening
suspects. Such an approach undermines the longstanding totality of the circumstances standard
by which officers' conduct should be assessed, and thus throws into question patrol officers’
immunity - a significant right and essential condition of our employment - without any

meaningful opportunity to be heard.

Vi. SPECIFIC CONSTITUTIONAL VIOLATIONS UNDER TITLE 8 (UF Policy)
A. The Deadly Force Provisions of the UF Policy Violate Plaintiffs’ (Officers')
Constitutional Rights by Basing the Reasonableness of the Decision to Use Deadly
Force on the ‘Actual’ Facts and Circumstances, instead of those 'Apparent' to the
Officer at the Moment Deadly Force is Used.

1. The new UF provisions, are found in Title 8 of the Seattle Police Manual, a copy of which

can be found on the Monitor's web site: www.seattlemonitor.com. Under Sec. 8.100.5 of the

UF Policy, deadly force may be used only, and without exception, in circumstances where

SPD Officers’ § 1983 Complaint 21

 
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 22 of 80

the threat of death or serious physical injury to the officer or others IS imminent. The UF
Policy then imposes the following conditions on the objective reasonableness standard for
determining whether or not an imminent danger is PRESENT: The suspect IS acting ina
manner or threatening to cause death or serious physical injury to the officer; AND the
suspect, in fact, HAS the "means or instrumentalities;" AND HAS the "opportunity and
ability" to do so. These requirements are completely contrary to the overwhelming history of
constitutional precedent that protect a police officer, or citizen, if he or she acts on a
mistaken belief regarding the ‘actual' facts as long as the officer or citizen had a reasonable
belief in, or acted in an objectively reasonable manner in the face of the 'apparent' danger
presented by the suspect at the time. When patrol officers are categorically restricted in their
ability to respond to reasonably perceived threats of death or serious physical injury, the
protection and rights granted them by the constitutional principles of self-defense and
defense of others are burdened to the point of destruction in violation of the Second and
Fourth Amendments.

Moreover, under the core provision authorizing force, Sec. 8.100, patrol officers are
prohibited, without exception, from using physical force except when "no reasonably
effective alternative appears to exist." Jurisprudence under the Second and Fourth
Amendments, however, has consistently made clear that when there is a reasonable belief
regarding a threat of death, or serious physical injury, or where the officer's conduct was
objectively reasonable in light of the circumstances, the Constitution protects him or her for
actions taken in self-defense or defense of others regardless of whether or not there existed
less intrusive means, or alternatives to self-defense or defense of others, such as inflicting a

less serious injury to, retreating from, or containing, or negotiating with the suspect.

SPD Officers' § 1983 Complaint 22
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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 23 of 80

B. The UF Policy is Unconstitutional Because Throughout it Forces Patrol Officers to
Use Less Force Than is Reasonably Required by the Threat, thus Requiring Officers to
Take Unnecessary Risks in the Performance of Their Duties.

Under the Second, Fourth and Fourteenth Amendments, the appearance of an immediate
threat justifies an immediate response with reasonable force. Anything else, requires
officers to take unnecessary and unreasonable risks in the performance of their duties, and
the Constitution provides them protection from such risks.

Nevertheless, the core provision authorizing force under the UF Policy, Sec. 8.100,
categorically prohibits an officer from using physical force that is reasonable unless, in
addition to being reasonable, the force also is necessary - which means the officer has first
considered all apparent "reasonably effective alternatives." Yet, even the Ninth Circuit has
expressly rejected that an officer must first avail himself or herself of all the less, or the least,
intrusive alternatives available to him or her, under the reasonableness standard. The Circuit
found that such a requirement would place unreasonable burdens on police officers under the
Constitution by demanding superhuman judgment. In turn this would make them hesitate
and be tentative; it would deter them from protecting themselves and others; and it would
invite endless, unreasonable second-guessing.

The policy also makes a wholly new requirement nowhere found in constitutional case law
that force must be "proportional to the threat" (Sec. 8.100.1). This is an extra-constitutional
requirement and serves only to add layers of complexity and precision to a standard that the
Court demands, by contrast, be simple and flexible.

Sec. 8.100.1 also states that: "proportional force does not require officers to use the same

type or amount of force as the subject." Defendants are likely to argue that this provision

allows an officer to retain discretion to use the level of force he or she judges appropriate to

SPD Officers’ § 1983 Complaint 23

 
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 24 of 80

the circumstances, even force greater than that threatened by the suspect. In fact, however,
any such deference to officers’ judgment is consistently and overwhelmingly contradicted by
operation of other parts of the policy. For example, officer discretion is overridden by the
policy's requirement throughout that use of force "shall" in all cases precisely be "only the
degree... necessary." It is also overridden by the policy's explicitly restrictions on officers’
rights to use certain levels and types of force - even in immediately threatening situations -
unless a variety of other factors, conditions, qualifiers are or are not present, and not before
officers have engaged in the time-consuming mental gymnastics necessary to satisfy all the
complex and contradictory requirements of the new UF Policy. The real effect of the policy
is to keep patrol officers constantly second-guessing their actions, meanwhile remaining at a
dangerous force deficit throughout encounters with threatening suspects. Obviously, this
puts Plaintiffs' safety at unreasonable risk whenever we go out on call. It also means that no
matter what we do, someone can, after-the-fact, point to some provision of the policy and
say we did it wrong. This puts our livelihood at unreasonable risk.

Sec.8.200, categorically and without exception, prohibits officers from using less-lethal tools
against vaguely defined, newly protected classes of suspects (visibly pregnant, elderly, pre-
adolescent, visibly frail, or known or suspected to be disabled) absent active aggression,
unless deadly force is the only other available option. These five categories are sufficiently
broad, subjective and vague so as to encompass a broad swath of individuals, and to invite
significant error in application and improper second-guessing. Moreover, by operation of
this rule, an officer cannot use reasonable and effective force tools or techniques (i.e., tools
and techniques specifically intended to "disrupt subject's threatening behavior" without the

probability of death or serious physical injury) until deadly force is justified. This makes no

SPD Officers’ § 1983 Complaint 24

 
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 25 of 80

sense as a matter of public policy. In the apparent attempt to protect certain groups of
individuals, the UF Policy actually increases the likelihood that such persons will get killed
or seriously injured in encounters with the police - a clear violation of those suspects’ rights.
It also unreasonably burdens the protections granted police officers under the Fourth
Amendment, because it restricts officers from responding with the force reasonably required
by the circumstances at and from the moment they arrive on the scene.

Sec. 8.20.5 also categorically restricts an officer from using these less-lethal tools and
techniques against suspects in another nine (9) sets of circumstances absent active
aggression. This means the suspect can be actually resisting, or actively noncompliant with
officer's commands - a potential indication of an intent to do harm to the officer -yet the
officer cannot, without exception, respond with less-lethal techniques before considering
every "other fashion" of reasonable response (e.g. all other alternatives).

The UF Policy consistently requires officers first to consider alternatives to force (e.g., Sec.
8.000.2 "officers will de-escalate conflict without using physical force;" Sec. 8.100.3
"officers shall use de-escalation tactics”). It attempts to qualify these provisions in order to
make them seem reasonable and/or constitutional. Here, for example, stating that de-
escalation is required only "when time and safety permit..." Such qualifiers are pretty, but
useless, window dressing at best. At worst, they add complexity to a policy that is already
unwieldy and unworkable to the point of putting officers’ lives at risk. Moreover, they serve
to disguise how the policy, taken together as a whole, is out and out wrong. Specifically,
officers are told to delay only “when time and safety permit," - this sounds reasonable - but
in the very same provision we are required to do the exact opposite and take unreasonable

risk. This is because we are required by the provision to delay and not use force even though

SPD Officers' § 1983 Complaint 25
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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 26 of 80

(1) our safety has already been compromised by the subject's lack of compliance (i.e.,
under Sec. 8.100.3 officers consider not if the subject is non-complaint, but the reasons for
the suspect's "lack of compliance"); and (2) there is an immediate threat (“mitigating the
immediacy of the threat” is the assumed situation when these rules apply). Bottom line
again, the UF Policy consistently throws roadblocks in the way of officers lawful and
reasonable use of force. Doing so subjects us to unreasonable risks to our safety, and to the
constant, unreasonable threat that we will be sanctioned for performing our job in anything
less than a perfect (impossible!) manner under the policy.

8. The UF Policy operates under a mistaken and dangerous assumption that threatening
situations always move in a linear, predictable direction. It assumes that de-escalation will
inevitably result in a reduction of the use of force, because additional time and space
"promote more rational decision-making" by suspects, and because it is better to have more
time for "more officers or specialty units" to respond to the scene. The policy direction
comes directly from DOJ who criticized SPD's training of its officers to quickly "command
and control" situations, proposing instead that it require its officers to engage in a “fair fight"
with suspects.

9. The constitutional protections and rights afforded police officers, however, certainly do not
rely on an assumption that suspected criminals will fight fair or behave rationally. Moreover,
such an understanding by DOJ is totally at odds with current research, as well as with
officers' first-hand professional experience, which demonstrates that using decisive force
early in response to an immediate threat is often what keeps the situation from ending in
necessarily greater uses of force, or tragedy. The UF Policy is therefore also at odds with the

Fourth Amendment's core principle, discussed further below, that the reasonableness of a UF

SPD Officers’ § 1983 Complaint 26
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 27 of 80

be judged only, and in every case, under the totality of the circumstances, from the
perspective of the officer on the scene at the time force is used. A UF Policy which, as in
all the sections discussed above, ties a Plaintiff's hands without regard for the specific
circumstances facing the officer at the moment and without any place for consideration of
the knowledge, training, or experience of the officer, violates this fundamental Fourth
Amendment principle.

C. The UF Policy is Unconstitutional Because it Establishes Separate Rules for Certain
Categories of Suspects, and Requires Police Officers to Act as Medical and Mental
Health Professionals Beyond the Reasonable Scope of their Duties and Professional
Qualifications.

The Fourth Amendment specifically rejects the application of separate tracks or categorical
rules when considering the mentally ill, or any other category of suspect, to determine
reasonableness when that suspect is behaving in a threatening or resistant manner.
Nevertheless, (1) the de-escalation provisions unconstitutionally mandate that an officer's UF
decision take into account the suspect's mental and physical state, even where the suspect is
actively non-compliant; and (2) the Tool Specific provisions unconstitutionally tie an
officer's hands in cases involving five new categories of actively threatening suspects based
on physical and/or mental conditions. These parts of the UF Policy seem driven directly by
DOS's goal, in all cases, of eliminating use of force against people who are having a mental
health crisis or who are under the influence of drugs or alcohol; in other words, defining as
excessive any force used against such persons. This is based on its mistaken notion that
"assessing the appropriate force in light of a subject's mental state is not just smart policing,

it is required." DOJ is fundamentally wrong. Courts hold just the opposite. The crucial

factor in deciding whether or not there was excessive force is the nature and immediacy of

SPD Officers' § 1983 Complaint 27
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 28 of 80

the threat. Thus, the Constitution does not allow second-guessing of an officer’s UF
decision, even though the officer failed to diagnose mental illness, because requiring
otherwise is impractical and dangerous. This cannot be stated too strongly: a threat of
harm, is a threat of harm regardless of what mental or physical conditions cause the
threat!

Moreover, considering even just one of the factors - whether or not the suspect is
experiencing a drug interaction - highlights how extremely problematic these requirements
are. Police officers are not medical or mental health professionals. It can take doctors and
mental health professionals months or years to figure out a patient's diagnosis, drug
interactions, and appropriate means of communication, therapy, and treatment. Yet the UF
Policy requires police officers, as a precursor to using reasonable force, to make on-the-spot
mental health status evaluations and diagnoses under circumstances that will be, by
definition (given the suspect's non-compliance), threatening, volatile, and potentially
dangerous or deadly.

Police are not called to the scene to be therapists or mediators. They are called by family
members, potential victims, medical and mental health professionals, and others who are
afraid for their safety or the safety of others, precisely because police officers have the
clear authority to use decisive force as soon as it is required. (In fact, in Seattle, fire,
medical, and/or mental health personnel will not respond to the scene to assist or
involuntarily commit mentally ill patients until patrol officers arrive if there is any potential
for violence.) A UF policy that disregards the facts and reality of the patrol officer’s role

when dealing with threatening or dangerous behavior is totally at odds with a constitutional

SPD Officers' § 1983 Complaint 28

 

 
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 29 of 80

scheme that protects and gives deference to the men and women who willingly undertake
that role.

D. The UF Policy's Imposition of Categorical Rules Related to the Mentally Ill and
Other Categories of Suspects Violates the Fourth Amendment Requirement that Use of
Force be Judged Based on the Experience, Knowledge and Training of the Patrol
Officer on the Scene.

The UF Policy's categorical, special treatment of mentally ill suspects or those impaired by
drug use or other conditions, flies in the face of the knowledge, training, and experience of
working patrol officers who interact with these individuals on a daily and weekly basis.
Consideration of, and deference to, such knowledge, training and experience is mandated by
the Fourth Amendment. Throughout its Findings Letter, DOJ consistently identified erratic
and non-compliant behavior by suspects as deserving of "special," gentle handling.
However, patrol officers and experts in the field of policing across the country, understand
that the exact behavior DOJ identifies as benign (yelling expletives at oneself, staring into
space, bulging eyes, sweating, balled fists, disregarding or refusing officer commands, taking
off pieces of clothing) can be, and often is in fact, evidence of Excited Delirium and/or
"boiling point," pre-attack indicators, i.e. evidence that a suspect's behavior is not only not
benign, but likely to become violent and rapidly escalate his or her attack on officers or the
public.

Research also shows a strong correlation between mental illness and the use and abuse of
drugs. It shows that drug abuse, in turn, is strongly correlated with violent behavior and that
drug abusers do not respond to usual norms of behavior as suggested by DOJ's and SPD's de-

escalation requirements. What is relevant is what Plaintiffs have learned from their years of

training and experience on patrol. The Fourth Amendment does not permit judges, or in this

SPD Officers' § 1983 Complaint 29
 

Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 30 of 80

case DOJ and its Monitor, to look back in perfect hindsight, from the safety of their |
chambers or offices, to second-guess what patrol officers actually faced at the moment and
know from real experience on the streets. Nor does it permit, as has happened here, a UF
Policy to be based on the experience of officers in another jurisdiction over a thousand miles
5 away. The Monitor absurdly consulted the "rank-in-file in Los Angeles" to determine if the
6 UF Policy would keep Seattle patrol officers safe. Moreover, it is clear from the background
of the so-called police experts on the Monitoring Team, that it has been years since they, if

ever, made actual UF decisions in the line of duty.

. 3. Itis too easy for DOJ attorneys and consultants - or even police officers who spend time at
11 desks writing policy, performing administrative functions, or even training officers in the
12 practice hall - to forget the reality facing officers on the street. It is too easy for those not
13 doing the job, to discount how frequently Plaintiffs are called, how threatening it feels, and
“ how objectively dangerous it is, for example, to respond to a 911 call and find a

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1 schizophrenic man who has stopped taking his medications, threatening to hurt family

17 . members, himself, innocent bystanders, or the officers, and who has ready access to weapons
18 or other objects that can be easily used with serious or deadly effect. The Constitution, by
‘8 contrast, offers Plaintiffs protection for precisely these reasons, giving deference to the

°° reasonable judgments and actions of patrol officers facing just such circumstances.

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55 E, The UF Policy is Unduly Burdensome and Confusing, Forcing Officers to Consider

so Many Factors, in the Heat of the Moment, that Timely and Reasonable Judgments
23 in the Face of Threats Becomes Virtually Impossible, Requiring Officers to Take
Unnecessary Risks in the Performance of Their Duties.

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95 1. Under the Fourth Amendment cases leading up to Graham, as well as its progeny, the right
26 of the officer to make arrests and investigatory stops necessarily carries with it the right to

SPD Officers' § 1983 Complaint 30

 

 

 

 
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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 31 of 80

use some degree of force, as long as its reasonable in inception and scope. The standard for
whether or not force is excessive is also clear and longstanding: Were the officers' actions
objectively reasonable in light of the facts and circumstances confronting them at the
moment force was used? The most important single factor in determining whether use of
force is reasonable, and therefore whether the officer’s conduct is protected by the
Constitution, is whether or not the suspect posed an immediate threat to the safety of the
officer or others. This is because the safety of the officer and others is the critical issue.
Fourth Amendment jurisprudence recognizes that officers often enter unpredictable,
threatening situations, and, under the stress of often extreme circumstances, must do their
best to keep everyone safe and unharmed, while also being knowledgeable and responsive to
the constitutional rights of all the parties involved, including those of the suspect.

Given the difficulty of the task, the Constitution demands that the principles and process
regarding UF decision-making, just like those for all seizures, must be fluid, flexible,
practical, simple, clear, non-technical, and based on common sense, i.e. useful to the officer
in his or her work on the street, even if not necessarily useful to legal technicians in the
safety of their chambers and offices. The principles, policies and practices must be ones that
can be applied consistent with an officer's need to make split-second decisions, under an
indefinite variety of situations and threats, in tense, dangerous, and rapidly unfolding
circumstances. DOJ found that SPD's previous UF policy was "vague." Yet, the Court has
expressly rejected such a concern. The Court acknowledges that reasonable suspicion and
probable cause as determined by the totality-of-the-circumstances standard can appear vague
or elusive, but has repeatedly held that it is the only standard that can be practical and useful

to officers in the field.

SPD Officers' § 1983 Complaint 31
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 32 of 80

Standards are not useful, and therefore not constitutional, when they distort this approach by,
for example, being overly specific, complicated, categorical, mechanical, or a neat set of
rules, even if they purport to be helpful by giving officers an "easy to apply" legal test.
Precise mechanical rules can never substitute for flexibility and experience, as there is
nothing predictable, easy, or neat about what a patrol officer faces when he or she responds
to a volatile call, which may require that force be used. Reality simply does not lend itself to
being divided up and pigeon-holed into neat, clearly defined and immediately discernible
categories, according to precise bright-line, mechanistic rules. Notwithstanding years of
cases to this effect, the new UF Policy attempts precision and specificity. Accordingly, we
have ended up with a policy that complicates, confuses, and undermines how officers
realistically can make these judgments and how those judgments will be analyzed and
reviewed after-the-fact.

a. The UF Policy is Overly Complicated.
Contrary to this mandate for simplicity and flexibility, Judge Robart approved what he
acknowledged is a "comprehensive" and "specific" policy. Yet, on its face, a policy
cannot be useful to patrol officers facing dangers and making split-second decisions, when
that policy is over 60 pages long! And requires an additional, new 50-page manual for SPD
investigators to explain how to investigate UF under the new policy.
Consider the crucial Sec. 8.100 regarding when force is authorized. The policy deceptively
states the underlying law correctly: An officer uses only reasonable force “based on the
totality of the circumstances known by the officer at the time of the use of force;" it must be
“judged from the perspective of a reasonable officer on the scene, rather than with the 20/20

vision of hindsight;" and the assessment must “embody allowance for the fact that officers

SPD Officers’ § 1983 Complaint 32
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 33 of 80

are often forced to make split-second decisions--in circumstances that are tense, uncertain,
and rapidly evolving.” However, the UF Policy then operates to undermine everything it
just stated. First, it promulgates a set of 12 separate, multi-layered, non-exclusive factors
that must be considered by the officer to determine reasonableness. (Graham lists three.) It
then requires officers also to apply two extra-constitutional requirements (necessity and
proportionality) discussed in detail in Sec. B. 2. above. Next, the policy establishes five
situations in which force is categorically prohibited (Sec. 8.100.2). In addition, the officer
must consider seven factors related to suspects’ mental and physical behavior that must be
"balanced" in an officer's decision-making process. If the policy is not be an exercise in
second-guessing, as it purports not to be, these 26 factors, requirements and situations all
must be considered and evaluated, and the officer's response must be calibrated accordingly,
in the "split-second" the officer has to make the decision whether or not to use force in the
face of threatening behavior. This is an impossible task. It makes a mockery of the
protections granted by the Fourth Amendment to police officers’ reasonable judgments and
actions in the heat of the moment.

Incredibly, these multi-layered and multi-factored analyses address only the initial question
of whether or not force can be used. Under Sec. 8.000.3, the officer must then consider his
or her prior conduct to determine the level of force he or she is permitted to use. Also under
Sec. 8.200, the patrol officer has to assess whether or not a suspect falls into any of five
categories before being permitted to use a certain level of force. After engaging in that
fraught-with-potential-for-error assessment of suspects, the officer must also know and
factor in, under Sec. 8.200- POL1-10, another 13 pages of detailed rules regarding ten

specific tools and techniques, again, by definition, under tense, uncertain, and rapidly

SPD Officers' § 1983 Complaint 33
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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 34 of 80

evolving circumstance. The UF Policy operates to defy reason, common sense, and the
protections and rights given Plaintiffs under the Constitution.

The policy contains yet another complex, mechanical scheme related to the reporting and
investigation of UF incidents. The new policy creates four categories of types of force (§
8.050). In addition, it creates a four-part classification of types of injuries (§ 8.050). Finally,
it creates detailed rules for ten specific force tools (§8.200-POL-1-10). Under § 8.300-
POL-1, the policy creates a complex overlay that combines, type of force, type of injury, and
type of force tool, to create different categories of reporting requirements for officers and
screening requirement for supervisors. As the the policy also requires throughout that
officers justify each and every separate force application, see e.g., §§ 8.200-POL-1.11;
8.200-POL-3.9; 8.200-POL-5.6; 8.200-POL-6.5, officers must somehow ensure they are
cognizant of this complex system even as they make UF decisions in the split-second
required in the face of suspects’ threatening behavior.

Moreover, the factors that the officer uses to justify, and that supervisors, commanders, and
citizens use to review, the use of force must be the same factors the officer uses to make his
force judgments and decisions on the scene. If factors are too complicated and contradictory
to facilitate reasonable decisions in the heat of the moment, then they cannot be used, after-
the-fact, to invalidate the officer's judgment and conduct. This is constitutionally
unreasonable, though clearly what is mandated by the reporting and review provisions of the

policy.

SPD Officers’ § 1983 Complaint 34
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 35 of 80

b. The UF Policy Applies Segmented and Deconstructive Rules to Officers’
Judgments in Violation of the Fourth (and Second) Amendments.

The UF Policy violates the protections granted patrol offers under the Fourth Amendment by
requiring both analysis of the officer's prior conduct, and a post-hoc, point-by-point critique
of the incident. These work together to invalidate the totality standard's focus on "the
circumstances confronting the officer" ... "at the moment" force was used. For example,
under Sec. 8.000.3, patrol officers are warned that "their conduct prior to the use of force,"
including the "display of a weapon," can be a factor in determining whether or not the
subsequent use of force was necessary (again ignoring that the constitutional test is
"reasonableness"). This expressly contradicts the Ninth Circuit and other circuits holding
that conduct preceding the seizure, including alleged 'tactical errors’ (as determined, by
definition, only in 20/20 hindsight) is irrelevant to the Fourth Amendment analysis of
reasonableness.

Moreover, it makes no sense to the reality of the officer's experience. Officers routinely have
their firearms out and at the ready when, for example, they search and clear a building, or
approach suspects during high-risk vehicle stops. In such cases, the threat is the uncertainty,
and officers need to be armed and ready, because they are always behind the reactionary
curve of a potential suspect who has decided to shoot, stab, slash, or smash as a means of
resistance or escape. The fact that the officer displaying his gun may have caused a suspect
to respond by pulling out his gun is absolutely irrelevant to what happens next. Just like any
other citizen, an officer facing a threat of death or serious physical injury may reasonably

respond to that threat with deadly force. The new UF Policy creates questions and

SPD Officers’ § 1983 Complaint 35
Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 36 of 80
uncertainties as to the validity of long-standing and time-tested police practices and

1 protocols, which are intended to protect officers from unnecessary risks.

2 3. Under Sec. 800.3, officers are also required to "continually assess the situation" and

"modulate the use-of-force appropriately.” In addition, throughout Sec. 8.200-POL-1-10,

s officers are required to "justify" and "report" each separate use of a less lethal device during

6 a single incident, including that "each subsequent application of force is a separate

? application of force that must be individually justified." Under Sec. 8.300, officers are

° required to document, and supervisors are required to review, in all but de minimis force,
. each and every blow or application of force. (Sec. 8.300-POL-1, 8.300-POL-1.1) We know
41 from DOJ's findings in its similar review of use of force by the Portland Police Bureau, that
12 DOJ explicitly advocates a "segmented approach" to use of force claims, whereby
13 supervisors consider, after-the-fact, “each point when an officer made a decision that may
ot have an effect on subsequent events” - the ostensible point here allegedly being to allow
15
1 “intensive” reviews of the reasonableness of the officer's conduct in order to identify “flawed
17 tactical decisions.”
18 4. It should be noted that, by DOJ's own words noted above, it is admitting that its approach to
19 UF review is expressly designed to lead to unconstitutional second-guessing, 20/20 hindsight
°° critiques, Monday Morning Quarterbacking, or whatever other description one prefers to
21
3 employ. However, such a “divide and conquer," reductionist analysis has been expressly and
23 repeatedly rejected by the Court. The Fourth Amendment looks at UF as a continuous event
24 until the threat is decisively stopped or contained. Thus, the officer's judgment and actions
28 must be assessed cumulatively, i.e., as a whole picture taken together, without imposing a
°° sequencing of distinct events in order to poke holes and find flaws, or to explain away each

SPD Officers’ § 1983 Complaint 36

 

 

 

 
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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 37 of 80

element in an officer's cumulative judgment as innocent and thus, not relevant, in and by
itself. Such an unconstitutional method has no other aim than post hoc analysis and
judgment in an effort to undermine the protection and deference granted officers’ judgments
by the Constitution.

c. The UF Policy Improperly Applies Precise and Mechanical Definitions to
the Test of Reasonableness.

Fourth Amendment case law is quite clear. The test of reasonableness is not capable of
precise definition or mechanical application. In violation of this tenet, the UF Policy is
littered with overly precise definitions and mechanical requirements. For example,
throughout the UF Policy, officers "shall use only the degree of force..." (e.g., 8.000.4).
This type of precision and quantification is impossible and not at all demanded by the
reasonableness standard. It is in fact explicitly rejected. Under Sec. 8.100.6, the UF Policy
establishes an inclusive and rigid 3-part rule for fleeing felons, including, a verbal warning
requirement, notwithstanding that the Court has specifically rejected just such rigid rule(s).
In these circumstances, as in all cases of force, the officer's conduct must be evaluated based
on one flexible standard: was it objectively reasonable in light of the circumstances as they
appeared to the officer at the time of the incident? Any other mechanical test undermines the
protections granted police officers not to take unnecessary and therefore unreasonable risks
with their safety or the safety of others.

In addition, Sec. 8.050 divides force into qualitatively separate and distinct types. The
categorical force type is then applied mechanically for purposes of both an officer's decision,
and SPD's and the City's after-the-fact analysis and review, to determine whether or not the

officer should be disciplined and/or criminally charged for the UF. Such a mechanical

SPD Officers’ § 1983 Complaint 37
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 38 of 80

scheme defining and categorizing levels of force smacks of an attempt to impose a UF
continuum on SPD. Requiring officers to pigeon-hole force types before, during, and after
their decision to use force, complicates and hampers their ability to respond to the particular
circumstances they face. It also implies that mechanical decisions can always be made
regarding when and what force is reasonably required to meet a suspect's threatening
behavior and/or resistance. Plaintiffs know from experience this is never true. Not
surprisingly, continuums and mechanical schemes have been discredited by law enforcement
experts, even those in other departments of the DOJ itself, as unconstitutional and
promoting dangerous, ineffective policing. Even with so-called ‘deadly force’, the Court has
eliminated the notion that there exists a magical on/off switch for determining the type of
force used by an officer. The only question is: were the officer's actions reasonable in the

particular circumstances as they appeared at the time force was used.

VIl. HARM CAUSED AND RELIEF SOUGHT
A. Plaintiffs Claims of Harm are Real, Significant, Immediate and Continuous.
The dangers and harm cited by Plaintiffs are real, not exaggerated or conjectural. The
Constitution long holds that imposing any standard on police judgment and conduct, other
then the totality of the circumstances standard, creates unnecessary and therefore
unreasonable risks to Plaintiffs’ safety and the safety of the public. This unnecessary and
unreasonable risk is itself the injury. Plaintiffs identify the plethora of ways in which the
UF Policy violates the totality of the circumstances standard, and thus creates unnecessary
risks to their safety each time Plaintiffs go out on a call. If further evidence of the

unnecessary risks created by the policy is useful, Plaintiffs will show numerous incidents

SPD Officers’ § 1983 Complaint 38
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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 39 of 80

where patrol officers have hesitated or failed to use appropriate levels of force under the
circumstances, including cases where officers have frozen, or retreated from suspects who
threatened the officer with death or serious physical injury. In these cases the officer(s) and
public were unnecessarily exposed to serious danger or death - and in many cases officers
have been injured - due to the environment, practices, and policies created by the
Defendants. Patrol officers will testify to greatly increased disregard, provocation, resistance,
and threatening belligerence by suspects since the delay and avoidance policy and practices
began to be imposed. Instead of creating effective and constitutional policing in Seattle,
DOJ has empowered its criminals to openly defy legitimate police authority, and made the
police and public significantly less safe, by producing unconstitutional, ineffective policing.
Moreover, as DOJ consistently recognizes that there is a national crisis in the mental health
system affecting, in particular, urban centers such as Seattle, and an inappropriately large
part of the burden of this crisis falls on the police. DOJ also acknowledges that Seattle has
seen "horrific murders committed by mentally ill offenders," of both citizens and police
officers. It acknowledges the 2009 unprovoked, unexpected murders of five on-duty,
uniformed police officers in and around Seattle, and the wounding of a sixth officer. It
claims, unconvincingly, in light of the rest of its findings, "not [to have] underestimated the
impact of these events on all police, and particularly on SPD officers." In fact, the mental
health crisis presents enormous and significant challenges and threats to Seattle police
officers that puts our lives and the lives of innocent bystanders at risk when we cannot
respond with reasonable force.

More generally, FBI's Uniform Crime Reports show, for example, since 2010 between 48

and 72 police officers were feloniously killed each year in the line of duty. Perhaps more

SPD Officers’ § 1983 Complaint 39
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 40 of 80

significantly in each of those years, between 53,000 and 57,000 officers were assaulted by
suspects - or 10 out of every 100 sworn officers - and on average about 27%, or almost one-
third of these officers, sustained injuries as a result of the assault. The dangers to police
safety are real and they are significant. Every 911 call has the potential to turn harmful or
deadly.

B. Plaintiffs’ Harm Began Before the Final Policy Went Into Effect.

While the actual UF Policy has only been in place since January 2014, the standards
reflected in it have been imposed on SPD in practice, by DOJ, since it issued its Findings
Letter on December 16, 2011, and quickly became the pattern and practice of what has been
required of patrol officers since that time. Officers have already been, as we will continue to
be, trained to “pause,” hesitate, over-think, and under-react to dangerous situations. What
this means is that the court should consider evidence prior to the UF Policy going into effect
where Plaintiffs have been required by training or practices to take unnecessary risks with
their safety and where there have been improper disciplinary actions, loss of paid work, and
improper dismissal from such force.

C. Plaintiffs Seek an Immediate Injunction and Declaratory Relief.

Plaintiff's seek an immediate injunction against the implementation of SPD's UF Policy that
went into effect on January 1, 2014, and all related training, in light of Plaintiffs’ serious and
significant allegations regarding the unconstitutionality of the UF Policy, and the dangers it
creates to the safety of SPD patrol officers and the public. The immediacy of this injunction
is crucial. Since the intrusion of DOJ in 2011, SPD patrol officers, including new officers at
the Academy (CJTC), have been - to the extent that any coherent, sensible 'training' is

possible under the new policy - improperly trained, or rather, conditioned to hesitate, to wait,

SPD Officers' § 1983 Complaint 40
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 41 of 80

to not act in the face of threats of danger. The longer this training/conditioning is ingrained,
the harder it will be to undo, and the safety of officers and the public is further endangered
for years, if not decades, to come.

Plaintiffs further seek a declaratory judgment that the UF Policy is unconstitutional and
beyond repair. Plaintiffs seek a declaration requiring that an entirely new UF policy be
drafted as soon as possible, but only after obtaining the advice of recognized leading local
and national experts on the science and research related to modern policing and use of force
tactics, as well as substantial input from Plaintiffs and other patrol officers with direct
experience in appropriate use of force decision making and tactics in Seattle. In this regard,
Plaintiffs ask only that the City and SPD do in fact what they committed to do under the
Consent Decree, namely draft a UF Policy that is consistent with the constitutional
requirements of Graham.

D. Plaintiffs Seek Compensatory Damages.

Plaintiffs seek compensatory damages for lost time and wages, improper disciplinary action,
or any other personnel actions taken against Plaintiffs for violations of the UF Policy where
Plaintiffs acted based on constitutional standards and thus within the protection afforded us
by the Fourth Amendment. Plaintiffs believe it is only a matter of time before this complaint
will be required to be amended to add compensatory damage claims for an officer(s)
damages related to defending a lawsuit alleging that the officers use of force violated SPD
policy, even though the use of force was reasonable under the Constitution, or more
significantly, to add a damage claim for the serious injury or wrongful death of a patrol
officer, who was injured or whose life was taken when he or she hesitated or failed to use

appropriate force when responding to a dangerous call.

SPD Officers’ § 1983 Complaint 4]
 

Case 2:14-cv-00794-MJP Document 1 Filed 05/28/14 Page 42 of 80
E. Plaintiffs Seek Punitive Damages

I Plaintiffs seek punitive damages from Defendants based on Defendants’ misinformation

; about, and ungrounded maligning of, the good work of SPD's patrol officers, as well as

Defendants consistent disregard for clearly established standards regarding use of force and

5 concomitant disregard for Plaintiffs’ livelihood and safety. Plaintiffs also seek punitive

6 damages for City and departmental resources and funds redirected away from the needs of

7 patrol officers and wasted instead on the production of an unreasonable, unconstitutional UF

° Policy, well beyond the scope of the original Memorandum of Understanding and placing at
. unreasonable risk the lives of officers and the public.
41 F. Plaintiffs Seek Attorneys Fees
12 Plaintiffs currently represent themselves pro se because of the overwhelming costs related to
13 paying an attorney to represent them in this complex civil rights matter. We have had the
“ benefit of a DC-based former civil rights attorney to consult and assist us in researching and
15
6 developing these pleadings who has, so far, done so without compensation, recognizing the
17 importance of the issues and the limits on Plaintiffs' ability to pay for representation at this
18 time. Plaintiffs seek to obtain attorneys fees in this action to pay legal fees incurred so far,
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SPD Officers' § 1983 Complaint 42

 

 

 

 
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 43 of 80

and hope that due to the availability of attorneys fees, we also will be able to obtain in-state

counsel to represent them in this court moving forward.

I declare under penalty of perjury that the foregoing is true and correct.

Mpollon <2H-/4
Officer Log as you! */ Date

 

 

 

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Ofcer 7 c Date

SPD Officers' § 1983 Complaint 43
 

Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 44 of 80

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SPD Officers § 1983 Complaint

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 45 of 80

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SPD Officers § 1983 Complaint

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 46 of 80

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SPD Officers § 1983 Complaint

 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 47 of 80
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Officer Thomas Heller, #7427
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Officer Michael Severance, #2866
North Precinct
10049 College Way N.
Seattle, WA 98133
(206) 684-0850

SPD Officers § 1983 Complaint

Detective Timothy J Wear, #4900
North Precinct

10049 College Way N.

Seattle, WA 98133

(206) 684-0850

Detective Theresa Emerick, #5002
North Precinct

10049 College Way N.

Seattle, WA 98133

(206) 684-0850

Sgt. Ariel Vela, #4727
North Precinct —
10049 College Way N.
Seattle, WA 98133
(206) 684-0850

Officer Michael A. Larned, #6955
North Precinct

10049 College Way N.

Seattle, WA 98133

(206) 684-0850

Officer Jeffery Johnson, #5845
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Officer Derek B Norton, #6917
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Officer Jason Dewey, #7426
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Officer Brett Willet, #7615
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850
 

 

Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 48 of 80

Officer David White, #6404
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Officer Gretchen Hughes, #6237
North Precinct

10049 College Way N.

Seattle, WA 98133

(206) 684-0850

Officer Trent Schroeder, #6900
North Precinct

10049 College Way N.

Seattle, WA 98133

(206) 684-0850

Officer Audi A. Acuesta, #7417
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Officer Steve Clark, #5987
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Officer Steven L. Berg, #5834
North Precinct

10049 College Way N.
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(206) 684-0850

Officer John D. Smith, #6291
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Officer Erik Johnson, #5116
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

SPD Officers § 1983 Complaint

 

LIST OF PLAINTIFFS

Officer Vernon Kelley, #6662
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Officer Jessica Taylor, #6273
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Officer Shelly San Miguel, #6910
North Precinct

10049 College Way N.

Seattle, WA 98133

(206) 684-0850

Officer Christopher J. Anderson, #6609
North Precinct

10049 College Way N.

Seattle, WA 98133

(206) 684-0850

Officer Suzanne M. Parton, #5830
North Precinct

10049 College Way N.

Seattle, WA 98133

(206) 684-0850

Officer Eric F. Whitehead, #7493
North Precinct

10049 College Way N.

Seattle, WA 98133

(206) 684-0850

Officer Brian Hanson, #5954
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850
 

Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 49 of 80

Officer Alan Richards, #7497
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Officer Ron Willis, #6081
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Officer A. Sheheen, #4916
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Officer Randall Higa, #5740
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Officer Tim Owens, #6748
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Officer Tyler Getts, #7537
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Officer Adam Elias, #6726
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

SPD Officers § 1983 Complaint

LIST OF PLAINTIFFS

Officer Jon Emerick, #4326
North Precinct

10049 College Way N.
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(206) 684-0850

Officer Louis Chan, #7424
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Sgt. Paul Pendergrass, #4942
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Officer Ted Cablayan, #6236
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Officer Brian Kokesh, #6851
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Officer AJ Marks, #6179
North Precinct

10049 College Way N.
Seattle, WA 98133
(206) 684-0850

Sgt. Ron Martin, #5041
North Precinct

10049 College Way N.
Seattle, WA 98133
(206) 684-0850
 

 

Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 50 of 80

Officer Rusty L. Leslie, #5209
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Officer TJ San Miguel, #7506
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Officer Jeffrey C. Page, #6845
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Officer Tyler P. Speer, #7415
North Precinct

10049 College Way N.
Seattie, WA 98133

(206) 684-0850

Officer Ryan Ellis, #7612
North Precinct

10049 College Way N.
Seattle, WA 98133

(206) 684-0850

Officer William McCowan, #7607
North Precinct

10049 College Way N.

Seattle, WA 98133

(206) 684-0850

Officer Austin Davis, #7617
North Precinct

10049 College Way N.
Seattie, WA 98133

(206) 684-0850

Officer Jack H. Bailey, #5230
East Precinct

1519 12 Ave.

Seattle, WA 98122

(206) 684-4800

SPD Officers § 1983 Complaint

LIST OF PLAINTIFFS

Officer Christopher Coles, #6940
East Precinct

1519 12 Ave.

Seattle, WA 98122

(206) 684-4800

Officer Cynthia Whitlatch, #6229
East Precinct

1519 12 Ave.

Seattie, WA 98122

(206) 684-4800

Officer Randy R. Ellis, #5514
East Precinct

1519 12 Ave.

Seattle, WA 98122

(206) 684-4800

Officer Jose Silva, #6919
East Precinct

1519 12 Ave.

Seattle, WA 98122

(206) 684-4800

Officer Alfred R.{ Warner, #6162
East Precinct

1519 12 Ave.

Seattle, WA 98122

(206) 684-4800

Officer Michael R. Washington, #5143
East Precinct

1519 12 Ave.

Seattle, WA 98122

(206) 684-4800

Officer Aaron Stoltz, #6073
East Precinct

1519 12 Ave.

Seattle, WA 98122

(206) 684-4800

Sgt. Theodore G. Visaya, #5237
East Precinct

1519 12 Ave.

Seattle, WA 98122

(206) 684-4800
 

Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 51 of 80
LIST OF PLAINTIFFS

Officer William K. Campbell, #6887
East Precinct

1519 12 Ave.

Seattle, WA 98122

(206) 684-4800

Officer Donald D. Bolton, #5256
East Precinct

1519 12 Ave.

Seattle, WA 98122

(206) 684-4800

Officer Steven E. Pomper, #5827
East Precinct

1519 12 Ave.

Seattle, WA 98122

(206) 684-4800

Officer Ronald J. Campbell, #6693
East Precinct

1519 12 Ave.

Seattle, WA 98122

(206) 684-4800

Officer Nina M. Jones, #7567
North Precinct

10049 College WY N

Seattle, WA 98133

(206) 685-0850

Officer Anthony Jones Reynolds, #7585
South Precinct

3001 S. Myrtle ST

Seattle, WA 98108

(206) 386-1850

Officer Richard Heintz, #4219
South West Precinct

2300 SW Webster ST
Seattle, WA 98106

(206) 733-9800

Officer Lori K. Aagard, #5011
East Precinct

1519 12 Ave.

Seattle, WA 98122

(206) 684-4800

SPD Officers § 1983 Complaint

 

Officer Curtis Gerry, #5823
SPD Range

11030 E Marginal WY S
Tukwila, WA 98168

(206) 684-7470

Officer Adolph Torrescano, #4743
SPD Range

11030 E Marginal WY S

Tukwila, WA 98168

(206) 684-7470

Officer Curt E. Wilson, #4505
SPD Range

11030 E Marginal WY S
Tukwila, WA 98168

(206) 684-7470

Officer James G. Thomsen, #6738
SPD Range

11030 E Marginal WY S

Tukwila, WA 98168

(206) 684-7470

Officer Richard W. Pruitt, #5346
SPD Range

11030 E Marginal WY S
Tukwila, WA 98168

(206) 684-7470

Detective Donald L. Waters, #6287
SPD Range

11030 E Marginal WY S

Tukwila, WA 98168

(206) 684-7470
 

Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 52 of 80

LIST OF PLAINTIFFS

Officer Anthony J. Reynolds #7585
South Precinct

3001 S. Myrtle St

Seattle, WA 98108

(206) 386-1850

Officer Richard Heintz #4219
Southwest Precinct

2300 SW Webster St
Seattle, WA 98106

(206) 733-9800

Officer Jonard A. Legaspi #6231
SPD Range

41030 E Marginal Wy S
Tukwila, WA 98168

(206) 684-7470

Officer Nina M. Jones #7567
North Precinct

10049 College Wy N
Seattle, WA 98133

(206) 684-0850
 

Case 2:14-cv-00794-MJP Document 1

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SPD Patrol Officers § 1983 Complaint

 
 

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SPD Patrol Officers § 1983 Complaint

 
 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 58 of 80

 

 

 

 

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SPD Patrol Officers § 1983 Complaint

 
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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 63 of 80

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Case 2:14-cv-00794-MJP Document 1 Filed 05/28/14 Page 64 of 80

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Case 2:14-cv-00794-MJP Document 1. Filed 05/28/14 Page 65 of 80

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SPD Patrol Officers § 1983 Complaint

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SPD Patrol Officers § 1983 Complaint

 

 

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Case 2:14-cv-00794-MJP Document 1 Filed 05/28/14 Page 68 of 80

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Case 2:14-cv-00794-MJP Document 1 Filed 05/28/14 Page 69 of 80

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SPD Patrol Officers § 1983 Complaint

 
 

Case 2:14-cv-00794-MJP Document 1

 

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Case 2:14-cv-00794-MJP Document 1. Filed 05/28/14 Page 71 of 80
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SPD Patrol Officers § 1983 Complaint

 

 
Case 2:14-cv-00794-MJP .Document 1 Filed 05/28/14 Page 72 of 80

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SPD Patrol Officers § 1983 Complaint

 
Case 2:14-cv-00794-MJP Document 1 Filed:05/28/14 Page 73 of 80

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SPD Patrol Officers § 1983 Complaint

 
 

Case 2:14-cv-00794-MJP Document 1 Filed 05/28/14 Page 74 of 80

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SPD Patrol Officers § 1983 Complaint -
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SPD Patrol Officers § 1983 Complaint

 

 

 

 

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~ Case 2:14-cv-00794-MJP Document 1

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SPD Patrol Officers § 1983 Complaint

 
 

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Case 2:44-ev-00794-MIF GC Ppgyment 1 Filed 05/28/14 Page 77 of 80

I declare under penalty of perjury that the foregoing complaint is true and correct.

Officer LAA. toe 6 OG APL. BOL

 

(Signature & Serial #) (Date)

Officer Albin JAS Cumsll

(Printed Name)

Precinct Ss K , / sé bd teh Ss - leche

 

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3 I declare ufider penalty of off perjury that the ne foregoing complaint is : true and correct.

 

 

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 78 of 80

 

 

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I declare under penalty of perjury that the foregoing complaint is true and correct.

Officer M ve " = GZS) OS- 24) -Zo)¢/

/ @ignature & Serial #) (Date)

 

Officer Jonmen Fl. Lecaser

 

(Printed Name)
- __.
Precinct C975 S PADININ, & Bb

 

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I declare under penalty of perjury that the foregoing complaint is true and correct.

Officer C.AL@ A) SGacke Zfy T~¢ (~2e fy

 

(Signature & Serial #) “7 (Date)

Officer BR CHAR Lentz

 

(Printed Name)

>! PREe ae 7
 

 

 

Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 79 of 80
LIST OF DEFENDANTS

Eric Holder, individually

United States Attorney General
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001
(202) 514-2001

Thomas E. Perez, individually
Former Assistant Attorney General
Civil Rights Division (CRD)

U.S. Department of Justice
Currently, U.S. Secretary of Labor
200 Constitution Ave., NW
Washington, DC 20210

(202) 693-6000

Jonathan M. Smith, individually
Chief Special Litigation Section, CRD
U.S. Department of Justice

950 Pennsylvania Avenue, NW
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SPD Patrol Officers § 1983 Complaint

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Case 2:14-cv-00794-MJP Document1 Filed 05/28/14 Page 80 of 80
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SPD Patrol Officers § 1983 Complaint
